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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________

UNITED STATES OF AMERICA,

                              Plaintiff

v.                                                 FILE NO.: 23-CR-99-LJV-JJM

HOWARD HINKLE,

                              Defendant
_________________________________________




      RESPONSE TO GOVERNMENT’S MOTION FOR PROTECTIVE ORDER




Dated: July 11, 2024
       Hamburg, New York

                                            Respectfully submitted,


                                            s/ Daniel J. Henry, Jr.
                                            Daniel J. Henry, Jr., Esq.
                                            Frank Bogulski, Esq.
                                            Attorneys for Howard Hinkle
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To:   Hon. Magistrate Judge Jeremiah J. McCarthy
      United States District Court
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      2 Niagara Square
      Buffalo, New York 14202
      Nicholas T. Cooper, Esq.
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      138 Delaware Avenue
      Buffalo, New York 14202




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       The Defendant, Howard Hinkle, by and through his attorneys, Daniel J. Henry, Jr., Esq.,

and Frank Bogulski, Esq., hereby submits this Response to the Government’s Motion for

Protective Order.


                                          ARGUMENT



       The Defendant, Howard Hinkle objects to the government’s motion for a Protective

Order and the ex parte affidavit filed under seal, (Dkt #156).

       The Defendant, Howard Hinkle joins in the responses filed by the other co-defendants to

the government’s motion for the proposed protective order submitted to the Court. In addition,

Mr. Hinkle requests the full disclosure of the redacted Facebook thread in paragraph 43 of Dkt.

#156 where the government claims: “…For example, in or about April 2024, I learned that an

individual on Facebook claimed to “live” with one of the attorneys in this matter. The individual

claims that “[t]he dude [Crystal Quinn] was with had pressed Xanax bars and she took 1 that had

felt in it and she wasn’t used to any opiates. It was not enough to kill 400 people but yea, trust

the Feds.”

       To my understanding, the first that any defense lawyer would have learned of this was

when the government provided the Discovery hard drive to all counsel on or about June 4, 2024.

Mr. Bogulski, co-counsel to Mr. Hinkle picked up our Discovery hard drive from the

government on June 4, 2024. That being the case, no defense attorney would have had the

knowledge concerning the pressed Xanax bars before that date. There are no indications that the

defense attorneys could have leaked this information. There has been a considerable amount of

media coverage and rumors circulating throughout the community on this case that may have led


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this individual to voice his/her opinion/thoughts on Facebook. This does not warrant a protective

order as stringent and restricted as the government is proposing.

       Regarding the claim in paragraph 28 of Dkt. #156 that Mr. Hinkle is an associate of the

Rare Breed Motorcycle Club (“RBMC”). That is not accurate. He is neither a member,

associate, pledge or any other type of affiliate with the club. He does know people who are

members of motorcycle clubs, but mere knowledge is not a “crime” or “illegal”. Nor does it

make Mr. Hinkle a person of a “dangerous” or “violent” character. All the motorcycle club cases

cited by the government do not involve Mr. Hinkle.

       The Same argument applies to the allegation concerning Italian Organized Crime. This

has nothing to do with Mr. Hinkle nor has he been accused of having any association with

organized crime of any sort. Mr. Hinkle should not be saddled with a severely restricted

protective order based on claims or allegations not involving him.

       Finally, in response to paragraphs 45-47 of Dkt. #156, Mr. Hinkle, in the interest of

judicial economy joined in Mr. Foti’s defense-version of the proposed protective order and did

not individually respond to the government’s version of their proposed protective order. It was

our understanding that by Mr. Foti filing his June 4, 2024, response, this would satisfy the

government’s inquiry as to the defenses’ position on the proposed protective order. We believed

the parties could then come to an agreement on an acceptable version.

       We do not oppose a protective order and understand the government’s request for one.

However, we oppose such a restrictive order proposed by the government. We believe the

proposed version initially tendered to the government by Mr. Foti satisfies all parties’ concerns.




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                                         CONCLUSION



       For the reasons set forth above, together with the responses we join in that have been

filed by the other co-defendants’ counsels, it is respectfully requested that the Court deny the

government’s heavily restricted proposed protective order and allow for the full disclosure of the

redacted Facebook thread in paragraph 43 of Dkt. #156.



                                                      s/ Daniel J. Henry, Jr.
                                                      Daniel J; Henry, Jr., Esq.

                                                      s/ Frank Bogulski, Esq.
                                                      Frank Bogulski, Esq.




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